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September 29, 2021


By ECF

Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:       United States v. Urooj Rahman, Case No. 20-CR-203 (BMC)

Dear Judge Cogan:

Consistent with Your Honor’s September 28, 2021 Order granting defendant Urooj Rahman’s
request for a one-time modification to the terms and conditions of her pretrial release,
undersigned counsel confirms that the sureties on Ms. Rahman’s bond have been advised of
the modification and they consent to it.

Thank you for Your Honor’s attention to this matter.

Respectfully,




Peter W. Baldwin



cc:       All Counsel of Record (via ECF)
          Pretrial Services Officer Ramel Moore




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